Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 1 of 27

HCCP 595 of 2018

IN THE HIGH COURT OF THE

HONG KONG SPECIAL ADMINISTRATIVE REGION

COURT OF FIRST INSTANCE

 

MISCELLANEOUS PROCEEDINGS (CRIMINAL) NO. 595 OF 2018

23 OCT 201
IN THE MATTER OF THE
ORGANIZED AND SERIOUS CRIMES ORDINANCE, CAP 455
AND
IN THE MATTER OF
The Secretary for Justice Applicant
and
Male KWOK Ho-wan, alias GUO Wengui Respondent 1 (“R1”)

[Holder of Hong Kong Identity Card No. P746467(7),
Hong Kong Passport No. KJ0398054]

Male GUO Qiang Respondent 2 (“R2”)
[Holder of Hong Kong Identity Card No. R650107(8),
Hong Kong Passport No. D00060651]
Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 2 of 27

Female QU Guojiao Respondent 3 (“R3”)
[Holder of Hong Kong Identity Card No. M500018(7), China

Identity Card No. 411282198504283120, Two-Way Permit

No. W93528483, China Passport No. E18527647]

AAGV Limited Respondent 4 (“R4”)
[A company incorporated in the British Virgin Islands,
BVI Company No. 1911605]

BSA Strategic Fund I Respondent 5 (“R5”)
[A company incorporated in the Cayman Islands,
Registration No. AP-295226]

Insight Phoenix Fund Respondent 6 (“R6”)
[A company incorporated in the Cayman Islands,
Registration No. HL-295485]

Alfonso Global Limited Respondent 7 (“R7”)
[A company incorporated in the British Virgin Islands,
BVI Company No. 1844508]

Allied Capital Global Limited Respondent 8 (“R8”)
[A company incorporated in the British Virgin Islands,
BVI Company No. 1861854]

Creative Apex Investments Limited Respondent 9 (“R9”)
[A company incorporated in the British Virgin Islands,
BVI Company No. 1846480]

Crystal Breeze Investments Limited Respondent 10 (“R10”)
[A company incorporated in the British Virgin Islands,
BVI Company No. 1863100]
Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 3 of 27

Elite Well Global Limited Respondent 11 (“R11”)
[A company incorporated in the British Virgin Islands,
BVI Company No. 1863603]

Globalist International Limited Respondent 12 (“R12”)
[A company incorporated in the British Virgin Islands,
BVI Company No. 1862561]

Infinitum Developments Limited Respondent 13 (“R13”)
[A company incorporated in the British Virgin Islands,
BVI Company No. 1862564]

Infinite Increase Limited Respondent 14 (“R14”)
[A company incorporated in the British Virgin Islands,
BVI Company No. 1863589]

Noble Fame Global Limited Respondent 15 (“R15”)
[A company incorporated in the British Virgin Islands,
BVI Company No. 1863591]

Eastern Profit Corporation Limited Respondent 16 (“R16”)
[A company incorporated in Hong Kong, Company
Registration No. 1648534]

Alfa Global Ventures Limited Respondent 17 (“R17”)
[A company incorporated in the British Virgin Islands,
BVI Company No. 1845331]

Ace Decade Holdings Limited Respondent 18 (“R18”)
[A company incorporated in the British Virgin Islands,
BVI Company No. 1828656]
Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 4 of 27

Hong Kong International Funds Investments Limited

[A company incorporated in Hong Kong, Company

Registration No. 1080095]

Anton Development Limited

[A company incorporated in Hong Kong, Company

Registration No. 2234318]

Bravo Luck Limited

[A company incorporated in the British Virgin Islands,

BVI Company No. 1767862]

China Golden Spring Group (Hong Kong) Limited
[A company incorporated in Hong Kong, Company

Registration No. 2048511]

Rosy Acme Ventures Limited

[A company incorporated in the British Virgin Islands,

BVI Company No. 1825025 ]

Leading Shine Limited

[A company incorporated in the British Virgin Islands,

BVI Company No. 1568037]

Male HAN Chunguang

[Holder of Hong Kong Identity Card No. M587855(7), China
Identity Card No. 371327198903056433, Two-Way Permit
No. W76211695, China Passport No. E64316613]

Male ZHANG Wei

[China Identity Card No. 410181198111220513, Two-Way

Permit No. W52480166]

Respondent 19 (“R19”)

Respondent 20 (“R20”)

Respondent 21 (“R21”)

Respondent 22 (“R22”)

Respondent 23 (“R23”)

Respondent 24 (“R24”)

Respondent 25 (“R25”)

Respondent 26 (“R26”)
Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 5 of 27

Female GUO Lijie Respondent 27 (“R27”)
[China Identity Card No. 410103197801153748, Two-Way
Permit No. W48032209]

 

RESTRAINT ORDER
PROHIBITING DISPOSAL OF ASSETS
IN HONG KONG AND ELSEWHERE
[S.15 OF THE ORGANIZED AND SERIOUS CRIMES ORDINANCE,
Cap. 455]

 

IMPORTANT NOTICE TO THE RESPONDENT

(1) This Order prohibits you from dealing with your property in Hong

Kong Special Administrative Region (“Hong Kong’) or outside Hong Kong.

(2) The Order is subject to any exceptions, which are set out in the Order.
You should read the whole of this document carefully. You are advised to consult a

solicitor as soon as possible. You have the right to ask the Court to vary or

discharge this Order.

(3) If you disobey this Order, you may be found guilty of Contempt of
Court and you may be sent to prison or fined or your property may be seized. It is

a criminal offence if you deal with property, which is subject to a restraint order.
Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 6 of 27

BEFORE THE HONOURABLE MR. JUSTICE LI IN CHAMBERS
(NOT OPEN TO PUBLIC)

ORDER

An application was made on the 18 day of October, 2018 by Assistant
Director of Public Prosecutions for the Secretary for Justice, to the Judge who has
read the draft order, and the affirmation listed in Schedule 1 and accepted the
undertakings of the Secretary for Justice in Schedule 2 at the end of this Order. After

hearing the application, the Judge made the following Order :-

IT IS ORDERED that :-

RESTRICTION ON DISPOSAL OF PROPERTY

1, The Respondents whether by themselves, their servants, agents,

attorneys, or otherwise, must not :-

(a) remove from Hong Kong any of their property which is located in
Hong Kong, whether in their own names or not, and whether solely or
jointly owned,
and

(b) in any way dispose of, or deal with, or diminish the value of any of
their property, which is located within Hong Kong or outside Hong
Kong, whether in their own names or not, and whether solely or jointly

owned.
Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 7 of 27

2 For the purpose of this Order, the Respondents’ property includes any
property which they have the power, directly or indirectly, to dispose of or deal with
as if they are theirown. The Respondents are to be regarded as having such power
if a third party holds or controls the property in accordance with their direct or

indirect instructions.

3 Without prejudice to the generality of the foregoing, this prohibition

includes the following property in particular :

Respondent 1

(i) Chose in action represented by credit balances held in the following bank
accounts held by R1:

 

 

 

 

 

 

 

S/N Name of Institution Account Number Balance

HK$ 651,977.46
The Hongkong
HK$ 647,424.32
1 and Shanghai Banking 611035023888
ase US$ 304,442.45
Corporation Limited
JPY 497
Subtotal HK$ 3,658,865.56

 

Respondent 3

(i) Chose in action represented by credit balances held in the following bank
account held by R3 but subject to the effective control of R1:

 

 

 

S/N Name of Institution Account Number Balance
DBS Bank
2 = 513241488 HK$ 4,338,167.19
(Hong Kong) Limited

 

 

 

 

 

 
Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 8 of 27

(ii) Cash in the following amounts seized from the below premises in the

presence of R3 which was subject to the effective control of R1:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

S/N Entity Account Number Balance
HK$ 1,244,730
GBP 70,000
Cash
ne US$ 100,000
(Seized inside 49/F, Bank of China
3 fi EUR 57,877.60 HK$ 3,522,940.36
Tower from the search operation in
JPY 3,119,300
August 2017)
AED 11,000
CHF 710.35
Respondent 4
(i) Chose in action represented by credit balances held in the following
accounts held by R4 but subject to the effective control of R1:
S/N| Name of Institution Account Number Balance
Haitong International
- Securities Company XX-XXXXXXX-33 HK$ 40,691,385.46
Limited
(ii) Securities held in the following account held by R4 but subject to the
effective control of R1:
S/N | Name of Institution Account Number Shares Balance
Haitong International 9,600,000 shares
5 Securities Company XX-XXXXXXX-33 Haitong Securities Company

 

Limited

 

Limited (“Haitong”)

 

 

Total: 9,600,000 shares (Haitong)

 

HK$ 70,272,000

 

(As of closing price on 2018-09-24, Haitong (6837): HK$7.32 listed in Hong Kong,
Founder Securities listed in Shanghai (601901): RMB$ 5.54/ HK$ 6.371)

 

 

 
Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 9 of 27

Respondent 5

(i) Chose in action represented by credit balances held in the following
accounts held by R5 but subject to the effective control of R1:

 

S/N | Name of Institution

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Account Number Balance
6 DBS Bank 10012420188 US$ 53,418.00
i Limited Hong Kong 10012421888 RMB$ 2,438,148.00
8 Branch 10012419588 HK$ 51,708,360.00
9 | Haitong International XX-XXXXXXX-33 HK$ 4,885,665.83
Securities Company
10 oe XX-XXXXXXX-33 HK$ 8,053,387.33
Limited
Oceanwide Securities
Company
Limited (previously
ia 602965-01-M-000 RMB$ 18,649,277.26
known as Quam
Securities Company
Limited)
HK$ 17,411,817.04
12 | BOCOM International 108165641
RMB$ 51,937.81
Securities Limited
13 108065642 HK$ 307,617.19
| HK$ 107,091,104,22

 

 

 

(ii) Securities held in the following accounts held by R5 but subject to the

effective control of R1:

 

 

 

 

 

S/N | Name of Institution Account Number Shares Balance
DBS Bank
14 | Limited Hong Kong HK1500003745 101,844,000 shares (Haitong)
Branch
15 | Haitong International XX-XXXXXXX-33 | 19,463,200 shares (Haitong)
Securities Company
16 XX-XXXXXXX-33

 

Limited

 

 

 

31,835,600 shares (Haitong)

 

 
Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 10 of 27

 

Oceanwide Securities
Company

Limited (previously

602965-01-M-000

49,000,000 shares (Haitong)

 

17 (outstanding margin 6,204,909 shares
known as Quam
ie loan of HK$ 59,062,279) Founder Securities
Securities Company
_ (Founder)
Limited)
68,868,800 shares (Haiton
BOCOM International ( 8)

18 108165641

 

Securities Limited

 

5,799,834 shares (Founder)

 

 

Total: 271,011,600 shares (Haitong)
12,004,743 shares (Founder)

 

HK$ 2,001,224,850.65

 

 

Respondent 6

(i) Chose in action represented by credit balances held in the following
accounts held by R6 but subject to the effective control of R1:

 

 

 

 

 

 

 

 

 

 

 

 

 

S/N | Name of Institution Account Number Balance
19 012-875-00-54092-2 HK$ 25,405,113
20 | Bank of China (Hong 012-875-92-73033-9 US$ 103
21 Kong) Limited 012-875-12-44402-5 HK$ 2,885.05
22 012-875-06-06263-5 RMB$ 153,296
China Galaxy
ag | MESENaROmel Bectmtbe M114065000 RMBS$ 14.64
(Hong Kong) Co.,
Limited
Total: HK$ 25,585,103.54

 

 

(ii) Securities held in the following accounts held by R6 but subject to the

effective control of R1:

 

S/N

Name of Institution

Account Number

Shares Balance

 

 

24

 

Bank of China (Hong
Kong) Limited

012-228-71-50472-1

 

 

30,065,200 shares (Haitong)
17,032,900 shares (Founder)

 

1 -

 

 
Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 11 of 27

 

 

 

 

GF Securities (Hong 10910396
146,000,000 shares
25 Kong) Brokerage Outstanding Margin : Fai
alton
Limited HK$ 481,649,515.51 ( 8)
01869250
26 Chita Merchants Outstanding Margi 54,000,000 sh Hai
utstandin ar : /Q00, snares (HMaiton
Securities (HK) Co., Ltd oe iPraitong)
HK$ 172,505,482

 

 

Total: 230,065,200 shares (Haitong)
17,032,900 shares (Founder)

 

HK$ 1,138,438,872.68

 

Respondent 7

(i) Chose in action represented by credit balances held in the following
accounts held by R7 but subject to the effective control of R1

 

 

 

 

 

 

 

 

 

 

 

 

 

S/N Name of Institution Account Number Balance
US$ 128.93
27 11747330 RMB$ 796.81
China Construction Bank HK$ 50,018.37
28 | (Asia) Corporation Limited 11747306 HK$ 1,000.00
29 11747314 US$ 128.93
30 11747322 RMB$ 796.88
’ HK$ 684,175.12
China Minsheng Banking
HK$ 534,854.62
ot Corp., Ltd. Hong Kong 800032298
US$ 51,924.30
Branch
RMB¢$ 28,132.12
ie Total: HK$ 1,708,644.53

 

 

Respondent 8

(i) Chose in action represented by credit balances held in the following
account held by R8 but subject to the effective control of R1:

 

 
 

 

Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 12 of 27

 

S/N Name of Institution

Account Number

Balance

 

32

 

China Minsheng Banking
Corp., Ltd. Hong Kong

 

Branch

 

800033469

 

HK$ 33,449.01

 

Respondent 9

(i) Chose in action represented by credit balances held in the following

account held by R9 but subject to the effective control of R1:

 

 

 

 

 

 

S/N Name of Institution Account Number Balance
China Minsheng Banking
oo Corp., Ltd. Hong Kong 800033444 HK$ 33,929.24
Branch

 

Respondent 10

(i) Chose in action represented by credit balances held in the following
account held by R10 but subject to the effective control of R1:

 

S/N

 

Name of Institution Account Number Balance
China Minsheng Banking
34 Corp., Ltd. Hong Kong 800033452 HK$ 32,517.16

Branch

 

 

 

 

Respondent 11

(i) Chose in action represented by credit balances held in the following
account held by R11 but subject to the effective control of R1:

 

 

S/N Name of Institution Account Number Balance
China Minsheng Banking
35 Corp., Ltd. Hong Kong 800033477 HK$ 32,517.16
Branch

 

 

 

 

 

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Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 13 of 27

Respondent 12

G@) Chose in action represented by credit balances held in the following
account held by R12 but subject to the effective control of R1:

 

S/N Name of Institution

Account Number

Balance

 

36

China Minsheng Banking
Corp., Ltd. Hong Kong

 

Branch

 

800033389

 

HK$ 32,517.16

 

Respondent 13

(i) Chose in action represented by credit balances held in the following
account held by R13 but subject to the effective control of R1:

 

 

S/N Name of Institution Account Number Balance
China Minsheng Banking
37 Corp., Ltd. Hong Kong 800033372 HK$ 32,517.16
Branch

 

 

 

 

 

Respondent 14

(i) Chose in action represented by credit balances held in the following
account held by R14 but subject to the effective control of R1:

 

 

S/N Name of Institution Account Number Balance
China Minsheng Banking
38 Corp., Ltd. Hong Kong 800033397 HK$ 32,517.16
Branch

 

 

 

 

 

Respondent 15

(i) Chose in action represented by credit balances held in the following

account held by R15 but subject to the effective control of R1:

-12.

 
Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 14 of 27

 

 

 

S/N Name of Institution Account Number Balance
China Minsheng Banking
39 Corp., Ltd. Hong Kong 800033364 HK$ 32,517.16
Branch

 

 

 

 

Respondent 16

(i) Chose in action represented by credit balances held in the following
accounts held by R16 but subject to the effective control of R1:

 

 

 

 

 

 

S/N Name of Institution Account Number Balance
HK$ 381.25
China Minsheng Banking
RMB$ 502,615.69

40 Corp., Ltd. Hong Kong 800032263

US$ 0.74

Branch
EUR 0.52
Total: HK$ 578,399.78

 

 

Respondent 17

(i) Chose in action represented by credit balances held in the following
accounts held by R17 but subject to the effective control of R1:

 

 

 

 

 

 

 

 

 

 

 

 

 

S/N Name of Institution Account Number Balance
US$ 128.93
41 11759329 RMB$ 797.00
China Construction Bank HK$ 50,018.35
42 | (Asia) Corporation Limited 11759264 HK$ 1,000.00
43 11759272 US$ 128.93
44 11759280 RMB$ 796.94
China Minsheng Banking
45 Corp., Ltd. Hong Kong 800032280 US$ 79,916.27
Branch
Total: HK$ 674,200.89

 

 

 

 

 
Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 15 of 27

Respondent 18

(i) Chose in action represented by credit balances held in the following
accounts held by R18 but subject to the effective control of R1:

 

 

 

 

 

 

S/N Name of Institution Account N umber Balance
China Minsheng Banking ,
HK$ 1,684.88
46 | Corp., Ltd. Hong Kong 800032319
US$ 93,033.83
Branch
Total: HK$ 722,697.06

 

 

 

Respondent 19

(i) Chose in action represented by credit balances held in the following
accounts held by R19 but subject to the effective control of R1:

 

S/N

 

 

 

 

 

 

 

 

Name of Institution Account Number Balance
China Minsheng Banking HK$ 145.37
47 | Corp., Ltd. Hong Kong 800032255 US$ 20,760.73
Branch RMBS$ 30,709.64
48 | DBS Bank (Hong Kong) 471879681 HK$ 5,045
49 Limited 475817573 US$ 448,662.78
Total: HK$ 3,678,538.66

 

 

 

Respondent 20

(i) Chose in action represented by credit balances held in the following
accounts held by R20 but subject to the effective control of R1:

 

 

 

 

S/N Name of Institution Account Number Balance
50 471492183 HK$ 15,500,000.00
DBS Bank HK$ 829,698,403.54
51 475445573
(Hong Kong) Limited US$ 93,025,947.02
52 475445672 RMB$ 3,007,078.10

 

 

 

 

 

 

Total:

 

HK$ 1,569,607,632.76

 

 

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Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 16 of 27

Respondent 21

(i) Chose in action represented by the credit balances held in the following
account held by R21 but subject to the effective control of R1 and R2:

 

 

 

 

 

 

S/N Name of Institution Account Number Balance
UBS AG
53 371236 US$ 15,393,793.48
Hong Kong Branch
Total: HK$ 119,301,899.47

 

 

Respondent 22

(i) Chose in action represented by credit balances held in the following
accounts held by R22 but subject to the effective control of R2:

 

S/N

 

 

 

 

 

 

 

 

Name of Institution Account Number Balance
54 China Citic Bank 744206777800 HK$ 2,014,055.96
55 International Limited 744206777801 USS 4,157.6
Total: HK$ 2,046,277.36

 

 

 

Respondent 23

(i) Chose in action represented by credit balances held in the following
account held by R23 but subject to the effective control of R1:

 

 

S/N Name of Institution Account Number Balance
11673654
f (Maintained in general
China Construction Bank
56 ledger account HK$ 8,672,215.81

(Asia) Corporation Limited

 

 

6307000-000 with serial
no. 8473615)

 

 

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Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 17 of 27

Respondent 24

(i) Real property held by R24 but subject to the effective control of R1:

LOT No > Rural Building Lot No. 1143

Share of the LOT fame

Address : No. 20 and 22 South Bay Road, Hong Kong
Registered owner : R24

Purchase price : HK$ 880,000,000 (as at 2011-03-31)
Estimated value : HK$ 2,224,000,000 (as at 2018-07-31)

Respondent 25

(i) Chose in action represented by credit balances held in the following bank
account held by R25 but subject to the effective control of R1:

 

 

 

 

 

 

S/N Name of Institution Account Number Balance
China Citic Bank International
57 on 744115843500 HK$ 212,316.94
Limited

 

Respondent 26

(i) Chose in action represented by credit balances held in the following bank
accounts held by R26 but subject to the effective control of R1:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

S/N Name of Institution Account Number Balance
HK$ 55,020.11
58 11709984 RMB$ 796.94
China Construction Bank (Asia) US$ 128.93
59 Corporation Limited 11709976 RMB$ 796.94
60 11709968 US$ 128.93
61 11709950 HK$ 850.00
Total: HK$ 59,701.49

 

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Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 18 of 27

Respondent 27

(i) Chose in action represented by credit balances held in the following bank
accounts held by R27 but subject to the effective control of R1:

 

 

 

 

 

 

 

 

 

 

 

 

S/N Name of Institution Account Number Balance

62 11708394 US$ 128.93

63 China Construction Bank (Asia) 11708409 RMB$ 796.94

64 Corporation Limited 11708386 HK$ 57,811.90

65 11708417 HK$ 0.42
Total: HK$ 59,728.01

 

 

DISCLOSURE OF INFORMATION

4,

Unless there is a further order of the Court, the Respondents shall file

and serve upon the Secretary for Justice on or before the 30 day of March, 2019

affidavits/affirmations disclosing for the preceding six years the full value of any

salary or other earnings, together with any money, goods or other assets whatsoever

which are held by them, whether in them own name or on their behalf by some

other person or company, and whether located within or outside Hong Kong,

and identifying with full particularity the nature and location of such assets and in

whose names those assets are held and the sources from which such assets are

derived and without prejudice to the generality of the foregoing :

(a) details of all accounts held with banks, deposits taking companies or
other financial institutions whether located within or outside Hong
Kong, including details sufficient to identify the accounts, the present

balance of the accounts and any encumbrances on the accounts;

 
Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 19 of 27

(b) particulars, including addresses, of all real property, whether
freehold or leasehold, in which the Respondents have any proprietary
interest, the nature and extent of that interest and details of any
mortgage or charge thereon stipulating any sum loaned in respect of
such property and how much is outstanding. Full particulars of any
rent paid to them, their servants or agents by any person including
which account such rent is paid into or how such rent is otherwise

applied;

(c) particulars of all securities, including but not limited to unit trusts,
shares or debentures in any company or corporation, public or private,
whether incorporated in Hong Kong or elsewhere, insurance policies

and any other deposits or investments held by them;

(d) particulars of all personal property, including but not limited to

jewellery, cash, motor vehicles, antiques or other items of value; and

(¢) particulars of any monies owed to them by other persons

or companies or vice versa.

5, No disclosure made in compliance with this Order shall be used as
evidence against the Respondents in any criminal proceedings, except in

proceedings under section 31 of the Crimes Ordinance, Cap. 200.

6. The information disclosed in compliance with this Order shall not be

an
Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 20 of 27

used for any purpose other than these proceedings and confiscation proceedings,
and shall not be disclosed or otherwise divulged to any third party without the

leave of this Court.

QUALIFICATIONS

7. Nothing in this Order shall :

(a) prevent any person affected by this Order, including any financial
institution, from paying any money restrained by this Order to the
party responsible for enforcement of any Confiscation Order which
may hereafter be made by the Court of First Instance or District Court
against the Respondents in satisfaction of part or the whole of the

said Confiscation Order; and

(b) prevent the levy of distress upon any goods subject to this Order for
the purpose of enforcement of any Confiscation Order which may

hereafter be made by the Court of First Instance or District Court.

DURATION OF THIS ORDER

8. This Order will remain in force up to and including the 30% day of
April 2019 unless before then it is varied or discharged by a further order of the
Court. The application for continuation of this Order shall be heard by the Court

at 9:30 am on the 30 day of April, 2019. There be liberty to apply for an extension.

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Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 21 of 27

EFFECT OF THIS ORDER

9. A Respondent who is an individual who is ordered not to do
something must not do it himself/herself or in any other way. He/She must not do it
through others acting on his/her behalf or on his/her instructions or with his/her

encouragement.

10. A person who is not an individual which is ordered not to do
something must not do it itself or by its directors, officers, partners, employees or

agents or in any other way.

i, It is a Contempt of Court for any person notified of this Order
knowingly to assist in or permit a breach of this Order. Any person doing so may

be imprisoned or fined, or have his/her/their assets seized.

CRIMINAL OFFENCE FOR BREACHING THIS ORDER

12. A person who knowingly deals in any realizable property
in contravention of this Order commits an offence and is liable:
(a) on conviction upon indictment to a fine of $500,000 or to the value of
the realizable property the subject of the Restraint
Order concerned which has been dealt with in contravention of that
Order, whichever is the greater, and to imprisonment for 5 years; or
(b) onsummary conviction to a fine of $250,000 and to imprisonment for 2

years.
Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 22 of 27

SERVICE

13(a). This order and all court documents in these proceedings including but
not limited to summonses, orders and incidental documents shall be served out of
jurisdiction on R1, R2, R4 to R15, R17, R18, R21, R23, R24, R26 and R27 wherever he
and/or she and/or it can be located, or at their respective last known address, or
registered office or correspondence address or as appropriate in accordance with the

law of the jurisdiction in which such respondent (a person or an entity) is present.

13(b). Should service on those respondents as specified in para. 13(a) be
unsuccessful, service of this order and all court documents in these proceedings
including but not limited to summonses, orders, and incidental documents shall be
served on them by way of any other means of service in accordance with the law of
the jurisdiction in which such respondent (a person or an entity) is present,
and such service shall be good and sufficient service of the said documents upon

such respondent.

13(c). This order and all court documents in these proceedings including but
not limited to summonses, orders, and incidental documents shall be served on R3
and R25 by way of any means of service in accordance with the law of the
jurisdiction in which she and/or he is present, and such service shall be

good and sufficient service of the said documents upon her and him.

13(d). This order and all court documents in these proceedings including but

not limited to summonses, orders, and incidental documents shall be served on R16,

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Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 23 of 27

R19, R20 & R22 at its respective last known registered office, or correspondence

office.

13(e) Should service on those respondents as specified in para. 13(d) be
unsuccessful, service of this order and all court documents in these proceedings
including but not limited to summonses, orders, and incidental documents by way
of advertising a notice of the same for one issue of an English language newspaper
and a Chinese language newspaper circulated generally in Hong Kong shall be

good and sufficient service of the said documents upon such respondent.

14. Notice of this Order shall be given to person and companies
affected by it.

UNDERTAKINGS

15, The Secretary for Justice gives to the Court the undertakings set out in

Schedule 2 to this Order.

VARIATION OR DISCHARGE OF THIS ORDER

16. The Respondents, or anyone affected by this Order, may apply to the

Court at any time to vary or discharge this Order (or so much of it as affects that

person), but anyone wishing to do so should give not less than 3 clear days’ notice

before the date fixed for the application to the Secretary for Justice.

-~-33a-
Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 24 of 27

REGISTRATION

Ty.

The Secretary for Justice be at liberty to lodge for registration of this

Order at relevant government registry/registries.

COUNSEL ACTING ON BEHALF OF THE SECRETARY FOR JUSTICE

18.

Counsel on behalf of the Secretary for Justice is :-

Ms. Denise CHAN

Assistant Director of Public Prosecutions

4/F., High Block, Queensway Government Offices
66 Queensway,

Hong Kong

Tel : 2867 4953

Fax : 2869 0236

INTERPRETATION OF THIS ORDER

19,

In this Order “he”, “him”, or “his” include “she”, “her”, “hers”

and “it” or “its” and “they”, “them” or “their”.

20.

stated) :-

(a)
(b)

(c)

When there are two or more Respondents then (unless otherwise

references to “The Respondent” mean both or all of them;
an Order requiring “The Respondent” to do or not to do anything
requires each Respondent to do it or not to do it; and

a requirement relating to service of this Order, or of any legal

-?4-
Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 25 of 27

proceedings on “The Respondent” means on each of them.

Dated this 18' day of October, 2018.

Registrar

2955
Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 26 of 27

SCHEDULE 1

Affirmation

The Judge has read the First Affirmation of Senior Inspector CHAN Sze-wing
dated the 5" day of October, 2018 and the exhibits produced therein before making

this Order.

SCHEDULE 2
Undertakings given to the Court by the Secretary for Justice

AND UPON the undertaking of the Secretary for Justice through the said Assistant

Director of Public Prosecutions:

de To serve upon any banks which may hold accounts belonging to the
Respondents and where applicable the Land Registries, the Company Registry, the
Transport Department and any third parties of which the Secretary for Justice may

be given notice, a copy of this Order.

Z. To pay the reasonable costs, damages, and expenses of any person or
body, other than the Respondents, to whom notice of this Order may be given in
ascertaining whether any assets that are the subject of the Order are within their
possession or control or which are incurred by them in complying with the terms of

this Order.

3. If for any reason this Order ceases to have effect, the Secretary for

-96+
Case 1:18-cv-02185-LJL Document 203-2 Filed 11/22/19 Page 27 of 27

Justice will forthwith take all reasonable steps to inform, in writing, any person
or company to whom he has given notice of this Order, or who he has reasonable

grounds for supposing may act upon this Order, that it has ceased to have effect.

37s
